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MR. ATTORNEY OF THE PUBLIC MINISTRY, HEAD OF THE INVESTIGATION UNIT
"C", OF THE STRATEGIC FINANCIAL CRIMES INVESTIGATION DIVISION, OF THE
ATTORNEY GENERAL'S OFFICE OF JUSTICE OF MEXICO CITY. I, LUIS ALEJANDRO
ALFARO JANET, in my capacity as the legal representative of the offended legal entity
SERVICIOS FUNERARIOS GG, S.A. de C.V., respectfully present the following before you: I
refer to your response from October 16th, in which you denied the issuance of authenticated
copies to be presented as evidence in the civil fraud case "Civil Action No. 23-CV-10684-IT,"
before the District Judge of Massachusetts, in the United States of America, Jennifer C. Boal,
between SERVICIOS FUNERARIOS GG, S.A. de C.V., as the plaintiff, and ADVENT
INTERNATIONAL CORPORATION as the defendant. In response to my client's objection to
presenting them in that proceeding due to the legal limitation of Article 218 of the National Code
of Criminal Procedures, the Judge considered that "it is not surprising that the Public Ministry
Agent denied the request because it was directly requested from you, Mr. Prosecutor," and now
points out that what is sought is a copy of the file of the current case in the possession of
SERVICIOS FUNERARIOS GG, S.A. de C.V., which was handed over by this Prosecutor's
Office on October 28, 2022. Therefore, respectfully, I would like to insist on this new inquiry, so
that my client can present a copy of the file that is in their possession in the Massachusetts
proceedings and thus comply with what is indicated in said lawsuit. SERVICIOS FUNERARIOS
GG, S.A. de C.V., has no objection to doing so and granting Advent International Corporation
full access to it, provided that there is no legal impediment that results in any legal liability for
my client.
